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 7                       UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9
lO UNITED STATES OF AMERICA,                    Case No. l 8mj2085-RBB-CAB
                       Plaintiff,               ORDER TO SHORTEN TIME
11
           v.
12
     OLGA ESMERALDA GEORGE,
13
                       Defendant.
14
15
           Upon application of the Government and good cause appearing thereof,
16



     is granted.
19
           IT IS SO ORDERED.
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21
     Dated: May 16, 2018
22
                                            Hon. Ruben B. Brooks
23
                                            United States Magistrate Judge
24
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